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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA


  LUIS MANUEL RODRIGUEZ, et al.,
                                                        Case No.: 1:20-cv-23287-DPG
                                Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                                Defendants.


          DEFENDANT IMPERIAL BRANDS PLC’S MOTION TO EXTEND TIME
              TO RESPOND TO THE COMPLAINT WHILE THE COURT
               CONSIDERS IMPERIAL’S PENDING MOTION TO STAY

         Defendant Imperial Brands plc (“Imperial”) submits this motion, pursuant to Federal Rule

  of Civil Procedure Rule 6(b)(1)(A), for an extension of its deadline to respond to the complaint or

  otherwise move until after the Court has ruled on Imperial’s pending motion to stay.1 This

  extension is necessary to preserve the Court’s ability to award meaningful relief in the event it

  grants the requested stay. In support, Imperial states as follows:

         1.      On August 19, 2020, Plaintiffs served Imperial with the summons and complaint in

  this lawsuit, through which they seek hundreds of millions of dollars in treble damages under Title

  III of the Helms-Burton Act, 22 U.S.C. §§ 6081-85. The action is based on allegations that Imperial

  is “trafficking” in real property—a factory in Cuba—that the Cuban government confiscated from

  Plaintiffs’ ancestor in the 1960s. There is no nexus between Plaintiffs’ claim and this forum.




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         Imperial submits this motion subject to and without waiver of any of its defenses, including
  defenses as to jurisdiction. Kramer v. MRT, LLC, No. 9:07-cv-80931, 2008 WL 877211, at *2
  (S.D. Fla. Apr. 1, 2008) (motion for extension of time does not waive Rule 12 defenses, “because
  a motion for extension of time is not a Rule 12 Motion or an Answer”).
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          2.      Under Federal Rule of Civil Procedure 12(a)(1)(A)(i), absent an extension,

  Imperial’s response to the complaint would be due on September 9, 2020.

          3.      On August 28, 2020, Imperial sought a limited stay of this action to give the

  European Commission time to consider Imperial’s expedited request for authorization to defend

  this litigation. ECF No. 14 (“Stay Motion”). As more fully explained in the Stay Motion, the

  European Commission takes the position that European Union (“EU”) law prohibits EU companies

  like Imperial from participating in Title III lawsuits like this one—including by filing motions to

  dismiss—without the Commission’s prior authorization. Violation of that prohibition is a criminal

  offense, punishable on indictment by an unlimited criminal fine. Id. ¶¶ 9-13. Accordingly,

  promptly after it was served herein, Imperial requested that the European Commission authorize

  Imperial to defend this lawsuit or, at a minimum, authorize Imperial in the first instance to file and

  litigate a motion to dismiss the complaint. Id. ¶¶ 3, 16. The Honorable Robert A. Scola, Jr. recently

  granted similar relief to that requested in the Stay Motion to an EU-based defendant in another

  Title III case that is pending in this District. Id. ¶ 23 & Ex. A.

          4.      Under Local Rule 7.1(c)(1), briefing on the Stay Motion will be completed on

  September 18, 2020, i.e., after the usual September 9, 2020 deadline to respond to the complaint.

  Should the Court grant the relief requested in the Stay Motion, Imperial’s response to the complaint

  would be due on the earlier of: (a) forty-five days after the European Commission grants Imperial’s

  request for authorization, or (b) February 9, 2021. Stay Motion ¶ 17.

          5.      Imperial now seeks an extension of time to respond to the complaint or otherwise

  move while the Court considers the Stay Motion. This extension is necessary to preserve the

  Court’s ability to grant the relief that Imperial seeks through the pending Stay Motion—a stay of

  Imperial’s obligation to respond to the complaint until the European Commission grants Imperial’s

  request for authorization, so that Imperial is not required to choose between (a) defying the


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  European Commission by moving to dismiss without first securing authorization to do so, and

  (b) risking (unwarranted) default proceedings if it fails to respond to the complaint by September

  9, 2020. A default would be unwarranted here,2 but based on Plaintiffs’ refusal to agree to this

  extension, Imperial infers that, absent an order of the Court, Plaintiffs may bring meritless default

  proceedings if Imperial does not respond to the complaint while the Stay Motion is pending.

  Imperial should be allowed to receive the Court’s ruling on its Stay Motion, free of the coercive

  threat of meritless default proceedings.

         6.      A movant for an extension of time must show “good cause.” Fed. R. Civ. P.

  6(b)(1)(A). When good cause is shown, an extension “should be liberally granted absent a showing

  of bad faith . . . or undue prejudice.” Lizarazo v. Miami-Dade Corr. & Rehab. Dep’t, 878 F.3d

  1008, 1012 (11th Cir. 2017) (ellipsis in original; citation and quotation marks omitted).

         7.      Here, good cause exists for the requested extension of time. The Stay Motion raises

  substantial issues of international comity that arise due to the conflict between Title III and EU

  law as implemented in the United Kingdom. Through the Stay Motion, Imperial seeks relief that




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           Default judgments are warranted “only in extreme situations” due to the “usual preference
  that cases be heard on the merits rather than resorting to sanctions that deprive a litigant of his day
  in court.” Mitchell v. Brown & Williamson Tobacco Corp., 294 F.3d 1309, 1316-17 (11th Cir.
  2002) (citation omitted). A default judgment would not be warranted here, even absent an
  extension of Imperial’s deadline to respond to the complaint, given Imperial’s pending motion to
  stay, Edwards v. Yu, No. 3:08-cv-561/LAC/EMT, 2010 WL 3002094, at *1 (N.D. Fla. June 28,
  2010), report and recommendation adopted, No. 3:08-cv-561/LAC/EMT, 2010 WL 3002095
  (N.D. Fla. July 29, 2010), and its request for European Commission authorization to defend this
  litigation, Acoustic Innovations, Inc. v. Theatermax, LLC, No. 05-80842-cv-
  RYSKAMP/VITUNAC, 2005 WL 8156016, at *2 (S.D. Fla. Nov. 30, 2005). A default would also
  be unwarranted for the further reason that there is no basis for the Court to exercise personal
  jurisdiction over Imperial, Oldfield v. Pueblo de Bahia Lora, S.A., 558 F.3d 1210 (11th Cir. 2009)
  (setting aside default judgment due to lack of personal jurisdiction); Stay Motion ¶ 3 n.1, and
  because the Court also lacks subject-matter jurisdiction, see infra n.3.


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  will avoid needlessly requiring it to choose between risking (a) criminal proceedings in its home

  jurisdiction and (b) default proceedings in the United States.

         8.      The Eleventh Circuit has cautioned that “[c]ourts and legislatures should take every

  reasonable precaution” to avoid subjecting participants in global commerce to “differing legal

  commands of separate sovereigns.” In re Grand Jury Proceedings, 691 F.2d 1384, 1391 (11th Cir.

  1982) (emphasis added; citation and quotation marks omitted). Affording Imperial an extension of

  time to move to dismiss the complaint while the Stay Motion is pending is a “reasonable

  precaution” the Court should take to maintain the status quo and avoid subjecting Imperial to

  differing legal commands of separate sovereigns while the Court adjudicates the Stay Motion.

         9.      Briefing on the Stay Motion will be completed on September 18, 2020. If the Court

  grants the relief requested in the Stay Motion, Imperial’s response to the complaint will be due

  after the European Commission grants Imperial’s request for authorization, with a longstop date

  of February 9, 2021. Stay Motion ¶ 17. But the Court will not be able to grant that relief unless

  Imperial’s deadline to respond to the complaint is extended while the Stay Motion is pending.

  Therefore, an extension of time to respond to the complaint is required so that the Court will be

  able to grant meaningful relief if it decides that Imperial’s Stay Motion should be granted.

         10.     Imperial does not seek this extension in “bad faith.” Lizarazo, 878 F.3d at 1012. To

  the contrary, Imperial has acted in good faith by promptly seeking both (a) authorization to defend

  itself and (b) a limited stay of this action to give the European Commission time to consider the

  request for authorization. When authorized to do so, Imperial will defend this action robustly,




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  including, without limitation, by demonstrating that the Court lacks both personal and subject-

  matter jurisdiction.3

         11.     Finally, the requested extension will not cause plaintiffs “undue prejudice.”

  Lizarazo, 878 F.3d at 1012. There is nothing emergent about the purely monetary relief that

  Plaintiffs seek, and Plaintiffs cannot plausibly argue that the extension requested is unreasonable,

  given that it took them almost sixteen months to file this lawsuit after Title III went into effect,

  and almost five months to file and serve the complaint on Imperial after they first threatened to do

  so. Stay Motion ¶¶ 14-15, 25-26. Moreover, the docket reflects that Plaintiffs have not even issued

  a summons for one of the defendants, further undermining any claim of urgency.

               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         In accordance with Local Rule 7.1(a)(3), Imperial has conferred with Plaintiffs’ counsel

  about its request to extend its deadline to respond to the complaint until after the Court has ruled

  on Imperial’s Stay Motion. Plaintiffs’ counsel do not agree to the requested relief. Plaintiffs’

  counsel would agree only to extend Imperial’s response deadline until seven days after the

  completion of briefing on the Stay Motion, regardless of whether the Court had ruled on the stay

  motion by then.

         Counsel for other defendants as to which Plaintiffs have issued summonses and purported

  to serve process—WPP plc, Young & Rubicam LLC, and BCW LLC—consent to the relief

  requested by Imperial.




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          See, e.g., Order, Cueto v. Pernod Ricard, No. 1:20-cv-20157-KMW (S.D. Fla. Aug. 17,
  2020), ECF No. 55 (dismissing Helms-Burton Title III case against foreign defendant for lack of
  personal jurisdiction) (attached as Ex. A hereto); Del Valle v. Trivago GmbH, No. 1:19-cv-22619-
  RNS, 2020 WL 2733729 (S.D. Fla. May 26, 2020) (same); Glen v. American Airlines, Inc., No.
  4:20-cv-482-A, 2020 WL 4464665 (N.D. Tex. Aug. 3, 2020) (dismissing Helms-Burton Title III
  case for lack of standing and, therefore, lack of subject-matter jurisdiction).


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         WHEREFORE, Imperial respectfully requests that the Court enter an order extending the

  deadline for Imperial to respond to the Complaint to the later of thirty (30) days from the date that

  the Court rules on Imperial Brands plc’s Motion to Stay [DE 14] or the date set forth in the order

  on the Motion to Stay.


  Dated: August 31, 2020
         Miami, Florida                             Respectfully submitted,


                                                    /s/ Mark Raymond
                                                    NELSON MULLINS BROAD AND CASSELL
                                                    Mark F. Raymond
                                                    Mark.Raymond@nelsonmullins.com
                                                    Jonathan Etra
                                                    Jonathan.Etra@nelsonmullins.com
                                                    2 South Biscayne Blvd., 21st Floor
                                                    Miami, FL 33131
                                                    Telephone: 305-373-9425

                                                    ALLEN & OVERY LLP
                                                    Andrew Rhys Davies (admitted pro hac vice)
                                                    andrewrhys.davies@allenovery.com
                                                    Justin L. Ormand (admitted pro hac vice)
                                                    justin.ormand@allenovery.com
                                                    1221 Avenue of the Americas
                                                    New York, NY 10020
                                                    Telephone: 212-610-6300

                                                    Attorneys for Defendant Imperial Brands plc




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